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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
____________________________________
In re:                               )
                                     )
TRANSCARE CORPORATION, et al.,       )                        Chapter 7
                                     )                        Case No.: 16-10407 (SMB)
                  Debtors.           )                        (Jointly Administered)
___________________________________ )

     RESPONSE OF PATRIARCH PARTNERS AGENCY SERVICES, LLC TO THE
    CHAPTER 7 TRUSTEE’S MOTION TO APPROVE STIPULATION AND FOR THE
         PUBLIC AUCTION SALE OF CERTAIN PERSONAL PROPERTY

TO THE HONORABLE STUART M. BERNSTEIN,
UNITED STATES BANKRUPTCY JUDGE

               Patriarch Partners Agency Services, LLC (“PPAS”), by and through its undersigned

counsel, hereby files this Response to the Trustee’s Motion to Sell, dated March 17, 2016 (DE

37),1 as follows. PPAS, on behalf of itself and as the administrative agent for a number of

prepetition secured lenders (collectively, “Lenders”)2 of Debtors,3 supports: (i) this Court’s


1
   See Motion of Chapter 7 Trustee for an Order: (I) Approving the Stipulation Respecting the Sale of Certain
Personal Property; (II) Authorizing the Auction Sales of Certain Personal Property; (II) Approving the Sale and
Notice Terms for the Auction Sales of Certain Personal Property; (III) Approving the Sale of Certain Personal
Property, Free and Clear of All Liens, Claims and Encumbrances, Security Interests and Other Interests to the
Successful Bidders at the Auction Sales; (VI) Approving the Employment of Maltz Actions as Auctioneer to Market
and Publicly Auction Certain Personal Property; (V) Authorizing the Trustee to Donate or Otherwise Dispose of
Certain De Minimus Personal Property; and (VII) Granting Related Relief, dated March 17, 2016 (the “Motion to
Sell”).
2
    Pursuant to a certain Credit Agreement, dated August 4, 2003 (and as amended) (the “Credit Agreement”).
3
   “Debtors” is defined as TransCare Corporation, TC Ambulance Group, Inc., TC Ambulance North, Inc., TC
Billing and Services Corp., TCBA Ambulance, Inc., TransCare Harford County, Inc., TransCare Management
Services, Inc., TransCare Maryland, Inc., TransCare ML, Inc., TransCare New York, Inc., and TransCare
Westchester, Inc.


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approval of the Stipulation4 attached as Exhibit A to the Motion to Sell; (ii) the Trustee’s public

auction sale of the Tangible Personal Property Assets pursuant to 11 U.S.C. § 363 (the

“Bankruptcy Code”); and (iii) the Trustee’s segregation of 10% of the Creditor Carve-Out,

pursuant to the “gifting doctrine,” solely for the payment of Employee Claims arising under §

507(a)(4) of the Bankruptcy Code. In support of this Response, PPAS states as follows.

                                             I. Background

               1.   On February 24, 2016 (the “Petition Date”), Debtors filed voluntary petitions for

relief under the Bankruptcy Code. By Order of this Court dated March 1, 2016, Debtors case are

being jointly administered.

               2.   Prepetition, pursuant to the Credit Agreement by and among TransCare

Corporation, Lenders, and PPAS (for itself and as administrative agent for Lenders), Lenders,

inter alia, made certain loans to Debtors.5 From 2003 to the Petition Date, the loans made from

Lenders to Debtors (and certain other non-filing affiliates of Debtors)6 totaled approximately $46

million dollars.

               3.   Simultaneously with the execution of the Credit Agreement, certain Debtors

entered into a Subsidiaries’ Guarantee, dated as of August 4, 2003 (the “Subsidiaries’

Guarantee”), in favor of PPAS and Lenders. Under the Subsidiaries’ Guarantee, each of Debtors

individually (with the exception of TransCare Corporation), jointly and severally guaranteed to

PPAS and Lenders the payment and other obligations under the Credit Agreement.


4
  Capitalized terms not otherwise defined in this Response shall have the same meaning ascribed to them in the
Trustee’s Motion to Sell.
5
  The Credit Agreement was subsequently amended, modified, and/or superseded numerous times over a number of
years to, inter alia, include Debtors as presently constituted.
6
   The non-filing affiliates are TC Hudson Valley Ambulance Corp., TC Ambulance Corp., and TransCare
Pennsylvania, Inc.


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               4.   To secure the Credit Agreement and the Subsidiaries’ Guarantee, Debtors entered

into a Security Agreement, dated as of August 4, 2003 (the “Security Agreement”), in favor of

PPAS and Lenders. Pursuant to the Security Agreement, Debtors, inter alia, granted to Lenders

and PPAS, as administrative agent for Lenders, a security interest in certain Collateral (as that

term is defined in the Security Agreement (the “Collateral”)).7

               5.   To further secure the Credit Agreement, certain Debtors entered into a Pledge

Agreement, dated as of August 4, 2003 (the “Pledge Agreement”), in favor of PPAS and Lenders.

Under the Pledge Agreement, each Debtor (except TransCare ML, Inc.) granted to Lenders and

PPAS, for the benefit of the Lenders, a security interest in certain Pledged Collateral, including,

inter alia, certain Pledged Stock (as such terms are defined in the Pledge Agreement).

               6.   PPAS and Lenders properly perfected their security interests in the Collateral and

the Pledged Stock through the filing of UCC-1 Financing Statements and related UCC-3

Amendment and Continuation Statements with the Delaware Office of the Secretary of State. 8

               7.   On October 13, 2006, Wachovia Bank, National Association, now known as

Wells Fargo Bank, N.A. (“Wells Fargo”), Lenders, and PPAS (for itself and as administrative

agent for Lenders), entered into a certain Intercreditor Agreement (the “Intercreditor Agreement”)

for the purpose of, inter alia, defining the relative priority of their respective security interests in




7
    The Collateral includes all of the following property owned or acquired at any time by Debtors or in which
Debtors have any right, title or interest: all Accounts; all Bank Accounts; all Chattel Paper; all Commercial Tort
Claims; all Contracts; all Copyrights; all Copyright Licenses; all Documents; all Equipment; all General Intangibles;
all Instruments; all Inventory; all Investment Property; all Letter of Credit Rights; all Patents; all Patent Licenses; all
Trademarks; all Trademark Licenses; all Vehicles; all books and records pertaining to the Collateral; and to the
extent not otherwise included, all Proceeds and products of any and all of the foregoing.
8
  As well as in any and all products, proceeds, and insurance amounts relating thereto, and whether then owned or
thereafter acquired.


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the assets of Debtors by virtue of their respective loans and other financial accommodations to

Debtors.

               8.   By way of summary only, pursuant to § 2.2 and Exhibit A to the Intercreditor

Agreement, Lenders have a senior-priority perfected security interest over Wells Fargo in the

following assets of Debtors: (i) machinery and equipment (including computer equipment); (ii)

inventory; (iii) vehicles, trailers, trucks, cars (i.e., titled vehicles); (iv) the shares of capital stock

of each direct or indirect subsidiary of TransCare Corporation; (iv) intellectual property; and (v)

books and records relating to any of the foregoing.9

               9.   In his Motion to Sell, the Trustee is seeking to sell the Tangible Personal Property

Assets – with PPAS’s consent pursuant to § 363(f)(2) of the Bankruptcy Code – in which

Lenders either continue to assert and possess properly perfected, first-priority security interests,

or, alternatively, own outright (i.e., as possessing both legal title and equitable interest) by virtue

of a strict foreclosure conducted by PPAS prepetition with regard to certain of those same

assets.10




9
   See UCC-1 Financing Statements and related UCC-3 Amendment and Continuation Statements filed with the
Delaware Office of the Secretary of State in connection with the Security Agreement against Debtors, including:
TransCare New York, Inc. (UCC-1 and UCC-3 Statement Nos. 20032033556, 20082044939, 20091463204, and
20130865312); TransCare Westchester, Inc. (Nos. 20032033770, 20082045142, 20091463311, and 20130865338);
TC Ambulance Group, Inc. (UCC-1 and UCC-3 Statement Nos. 20032030909, 20082045126, 20091461760, and
20130865221); TC Ambulance North, Inc. (Nos. 20032030818, 20082045084, 20091461810, and 20130865239);
and TCBA Ambulance, Inc. (Nos. 20032032277, 20082045340, 20091462685, and 20130865262). See also UCC-1
Financing Statements and related UCC-3 Amendment and Continuation Statements filed with the Delaware Office of
the Secretary of State in connection with the Security Agreement against the non-filing debtors, including: TC
Hudson Valley Ambulance Corp. (Nos. 20032032384, 20082045209, 20091462511, and 20130865254) and TC
Ambulance Corporation (Nos. 20032030693, 20082045050, 20091461711, and 20130865213). Each and all such
Financing Statements fully and comprehensively describe the Collateral, including all General Intangibles. PPAS
also properly perfected its security interests in the titled vehicles by having its lienholder status notated on the
various Certificates of Title issued by the bureaus of motor vehicles in the applicable states. The Credit Agreement,
the Security Agreements, the Subsidiaries’ Guarantee, the Pledge Agreement, collectively, the “Loan Documents.”



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               10.   In particular, as a result of Debtors’ payment and other defaults under the Loan

Documents, on February 24, 2016 and prior in time to the commencement of these cases, PPAS,

as administrative agent for Lenders, provided Debtors with a certain Notice of Default and

Acceleration (the “Notice of Default”) with respect to Debtors’ debts and obligations to Lenders.

               11.   Subsequent to the delivery of the Notice of Default to Debtors and prior in time to

the commencement of these cases, on February 24, 2016, PPAS (as administrative agent for

Lenders) provided Debtors with a certain Notice of Acceptance of Subject Collateral in Partial

Satisfaction of Obligation (the “Notice of Acceptance”). On that same date, and prior to the

commencement of these cases, Debtors expressly agreed, in writing, to PPAS’s acceptance (for

the Lenders) of the collateral identified in the Notice of Acceptance in partial satisfaction of

Debtors’ obligations to Lenders.11

               12.   Upon Debtors’ express agreement to PPAS’s acceptance of the collateral

identified in the Notice of Acceptance in exchange for a partial satisfaction of Debtors’

obligations to Lenders, in the credited amount of $10 million dollars, PPAS’s strict foreclosure

under § 9-620 of the New York Uniform Commercial Code (the “NY UCC”), was complete (the

“Strict Foreclosure”). See NY UCC § 9-620(a)(1); see also In re CBGB Holdings, LLC, 439

B.R. 551, 554 (Bankr. S.D.N.Y. 2010) (“Section 9–620 of the Uniform Commercial Code

governs strict foreclosure—a procedure through which a secured creditor may retain its collateral

in full or partial satisfaction of its claim.”) (footnote and citation omitted).




10
      See NY UCC § 9-622(a) (“Effect of acceptance. A secured party’s acceptance of collateral in . . . partial
satisfaction of the obligation it secures: . . . (2) transfers to the secured party all of a debtor’s rights in the collateral .
. . .”); see also 11 U.S.C. § 541.
11
     PPAS has provided copies of the Notice of Default and the Notice of Acceptance to the Trustee.


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               13.   In his Motion to Sell, the Trustee now seeks to sell the Tangible Personal Property

Assets by public auction pursuant to § 363 of the Bankruptcy Code, some of which constitute

assets – most notably the ambulances and other vehicles – that were the subject of the Strict

Foreclosure.         In particular, the Trustee disputes the validity of the Strict Foreclosure and

maintains, inter alia, that all the Tangible Personal Property Assets are properly property of the

estates and can be sold pursuant to § 363 of the Bankruptcy Code. See also 11 U.S.C. §§

363(f)(4) and 541. PPAS, of course, strongly disagrees with the Trustee’s position regarding the

Strict Foreclosure and asserts that the Strict Foreclosure is valid

               14.   PPAS does agree, however, that the liquidation of the Tangible Personal Property

Assets in the manner contemplated and as set forth by the Trustee in the Motion to Sell and

pursuant to the parties’ Stipulation is in the best interests of both Lenders and Debtors’ estates.

Consequently, PPAS has consented to the sale of those assets under the terms of the Stipulation,

with all parties’ reserving their rights to the sale proceeds (among other reservations) from the

liquidation of the Tangible Personal Property Assets.

               15.   PPAS also asserts, for the reasons discussed below, that the Court should approve

the Trustee’s segregation of 10% of the Creditor Carve-Out, pursuant to the “gifting doctrine,”

solely for the payment of Employee Claims arising under § 507(a)(4) of the Bankruptcy Code.

                                               II. Discussion

               16.   Because the Trustee’s Motion to Sell thoroughly and accurately sets forth the legal

bases for the proposed public auction sale of the Tangible Personal Property Assets under the

Bankruptcy Code, PPAS will not belabor the analyses here other than to state that it consents,

pursuant to § 363(f)(2) of the Bankruptcy Code, to the proposed sale upon the terms and




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conditions set forth in the Stipulation. If the Stipulation is approved by the Court, then PPAS

asserts that the Trustee’s Motion to Sell in furtherance of that Stipulation should be granted.

               17.    With particular respect to the Employee Wage Claim Fund (as defined in the

Stipulation), PPAS asserts that the Court should approve that 10% carve-out and segregation of

funds from the Creditor Carve-Out (constituting 20% of the net proceeds of sale from the

Tangible Personal Property Assets) pursuant to the “gifting doctrine” as applied in this Chapter 7

case. Generally,

               [t]he Gifting Doctrine permits creditors, if they wish, to “gift” part of the
               distributions to which they’d otherwise be entitled to junior classes or interests,
               even if that gift results in unequal distributions to classes that would otherwise be
               pari passu, or if the gift makes distributions to a class when a more senior class
               has not been paid in full. Its rationale was explained in SPM, the case from which
               the doctrine first evolved. As the First Circuit there explained, provisions of the
               Bankruptcy Code governing priority of creditors “apply only to distributions of
               property of the estate.” It continued:

               The Code does not govern the rights of creditors to transfer or receive nonestate
               property. While the debtor and the trustee are not allowed to pay nonpriority
               creditors ahead of priority creditors, . . . creditors are generally free to do whatever
               they wish with the bankruptcy dividends they receive, including to share them
               with other creditors.

In re DBSD North America, Inc., 419 B.R. 179, 210-11 (Bankr. S.D.N.Y. 2009), rev’d, 634 F.3d

79, 98 (2nd Cir. 2011) (citing In re SPM Mfg. Corp., 984 F.2d 1305, 1313 (1st Cir. 1993)).

               18.    In DBSD North America, Inc., the Second Circuit found that the gifting doctrine

violated the absolute priority rule and § 1129(b)(2) of the Bankruptcy Code in Chapter 11 cases

and, therefore, was not viable in that context. The Second Circuit did, however, distinguish the

First Circuit’s SPM decision concerning the gifting doctrine on a number of grounds, which

would appear to support the viability of the gifting doctrine in this Chapter 7 case to allow for the




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Employee Wage Claim Fund carve-out from either PPAS’s own property or, alternatively, its

secured collateral.

               We distinguish this case from In re SPM on several grounds. In that case, a
               secured creditor and the general unsecured creditors agreed to seek liquidation of
               the debtor and to share the proceeds from the liquidation. . . . The bankruptcy
               court granted relief from the automatic stay and converted the case from Chapter
               11 to a Chapter 7 liquidation. . . . The bankruptcy court refused, however, to
               allow the unsecured creditors to receive their share under the agreement with the
               secured creditor, ordering instead that the unsecured creditors’ share go to a
               priority creditor in between those two classes. . . . The district court affirmed, but
               the First Circuit reversed, holding that nothing in the Code barred the secured
               creditors from sharing their proceeds in a Chapter 7 liquidation with unsecured
               creditors, even at the expense of a creditor who would otherwise take priority over
               those unsecured creditors.

               The first and most important distinction is that In re SPM involved Chapter 7, not
               Chapter 11, and thus involved a liquidation of the debtor, not a reorganization. . . .
               Chapter 7 does not include the rigid absolute priority rule of § 1129(b)(2)(B). See
               In re Armstrong, 432 F.3d at 514. As the First Circuit noted, “the distribution
               scheme” of Chapter 7 “does not come into play until all valid liens on the property
               are satisfied.” In re SPM, 984 F.2d at 1312; see 11 U.S.C. § 726(a); Hartford
               Underwriters Ins. Co. v. Union Planters Bank, N.A., 530 U.S. 1, 5 [] (2000). In re
               SPM repeatedly emphasized the “lack[ ]” of “statutory support” for the argument
               against gifting in the Chapter 7 context. 984 F.2d at 1313; see id. at 1313–14
               (finding “no support in the Code for” rejecting gifting). Under Chapter 11, in
               contrast, § 1129(b)(2)(B) provides clear “statutory support” to reject gifting in this
               case, and the distribution scheme of Chapter 11 ordinarily distributes all property
               in the estate (as it does here), including property subject to security interests, see
               11 U.S.C. § 1129(b)(2)(A).

               Furthermore, the bankruptcy court in In re SPM had granted the secured creditor
               relief from the automatic stay, . . . and treated the property in question as no
               longer part of the estate, . . . In a very real sense, the property belonged to the
               secured creditor alone, and the secured creditor could do what it pleased with it.
               Here, however, the relevant property has remained in the estate throughout, and
               has never belonged to the secured creditors outright. . . . For these reasons,
               therefore, assuming without deciding that the First Circuit’s approach was correct
               in the context of Chapter 7—a question not before us—we do not find it relevant
               to this case.

In re DBSD North America, Inc., 634 F.3d at 98 (citations omitted).




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               19.   Here, the Second Circuit’s reasoning and language in DBSD North America

suggests that the gifting doctrine should apply in this Chapter 7 case under these circumstances.

First, this is a Chapter 7 liquidation case rather than a Chapter 11 reorganization, so there is no

application of § 1129(b)(2) of the Bankruptcy Code in this instance, and there is no similar

provision under the Bankruptcy Code in the Chapter 7 context that would preclude PPAS’s

gifting of a portion of its sale proceeds to the Employee Wage Claim Fund.

               20.   Second, if PPAS’s position concerning the Strict Foreclosure is correct, then

much of the Tangible Personal Property Assets is not even property of the estates, which further

strongly supports PPAS’s efforts and desire that the 10% carve-out for the Employee Wage

Claim Fund be approved and allowed. See In re CBGB Holdings, LLC, 439 B.R. at 559-60 (“In

any event, preferentially transferred property does not become property of the estate until it has

been recovered. See 11 U.S.C. § 541(a)(3); cf. FDIC v. Hirsch (In re Colonial Realty Co.), 980

F.2d 125, 131 (2d Cir. 1992) (fraudulently transferred property does not become property of the

estate until it is recovered). Even if the Assets were preferentially transferred to the Kristal

Estate, the latter still owned them as of the petition date.”).

               21.   Third, the most likely class of senior-priority unsecured creditors or claimants to

the funds of the Creditor Carve Out are holders of administrative expenses claims under § 503 of

the Bankruptcy Code, but the Trustee and his professionals have acquiesced (if not expressly

consented) to the gifting for the benefit of the prepetition employees of Debtors, and all other

administrative expenses claimants under the Bankruptcy Code should paid, in full, pursuant to

the Trustee’s wind-down Budget in connection with his § 721 authority.




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               22.   Fourth, it is highly unlikely that any priority unsecured claims will be filed in the

case pursuant to § 507(a)(1) or (3) of the Bankruptcy Code, which, again, supports the likely lack

of any prejudice to any other potentially superior class of creditors or claimants as a result of the

Court’s approval of the Employee Wage Claim Fund carve-out.

               23.   Finally, even though the administrative expense costs in this case have the

potential to be extensive, it is unlikely that the Chapter 7 estate will be administratively

insolvent, and so it is likely that the Employee Wage Claim Fund carve-out would have been

distributed to holders of allowed § 507(a)(4) claims in any event. The carve-out, however, is

nevertheless a hedge against such a potential administrative insolvency, and it serves to protect at

least some funds from PPAS’s collateral or property for the benefit of the Debtors’ former

employees.

               24.   For all these reasons, PPAS asserts that the gifting doctrine would be permissible

and appropriate in this case, and PPAS requests that the Court approve that aspect of the parties’

Stipulation.

                                                 Conclusion

               WHEREFORE, Patriarch Partners Agency Services, LLC, on behalf of itself and as the

administrative agent for Lenders, requests that the Court: (i) approve the Stipulation attached as

Exhibit A to the Motion to Sell; (ii) approve the Trustee’s public auction sale of the Tangible

Personal Property Assets pursuant to 11 U.S.C. § 363; (iii) grant PPAS’s and the Trustee’s

request that the Trustee be permitted to segregate 10% of the Creditor Carve-Out solely for the

payment of Employee Claims arising under § 507(a)(4) of the Bankruptcy Code; and (iv) grant

PPAS such other and further relief as may be appropriate under the circumstances.




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               Dated at Portland, Maine this 23rd day of March, 2016.


                                                            /s/ Randy J. Creswell
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